           Case 1:13-cv-00106-SEH Document 122 Filed 10/27/15 Page 1 of 3




                                                                           FILED
                                                                            OCT 2 7 2015
                                                                         Clerk, U.S. District Court
                                                                           District Of Montana
                                                                                  Helena

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MONTANA

                               BILLINGS DIVISION

 LIBERTY MUTUAL INSURANCE
 COMPANY,
                                                 No. CV 13-106-BLG-SEH
                            Plaintiff,

 vs.                                             ORDER

 TRAPPER PEAK CONSTRUCTION,
 INC., ROBERT R. MALONE, and
 SHEILA M. MALONE,

                            Defendants.

       Pending before the Court is Plaintiffs Motion for Entry of Judgment

Against Trapper Peak Construction, Inc. 1 At the request of this Court, Plaintiff

provided a Verified Supplemental BriefRegarding Attorney's Fees and Costs




       1
           Doc. 112.

                                          -1-
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Incurred in Support of Motion for Entry of Default Judgment2 supporting its claim

for attorney's fees and costs.

      Upon review of the materials provided, the Court has determined:

      1.       The hourly rates of $230/hour, $220/hour, and $190/hour charged for

partners, senior associates, and junior associates, respectively, are reasonable and

consistent with comparable services in other cases in this Court.

      2.       The hourly rate of $11 O/hour charged for lawyer support services is

reasonable and consistent with comparable services in other cases in this Court.

      ORDERED:

      1.       Plaintiffs Verified Supplemental Brief Regarding Attorney's Fees and

Costs Incurred in Support of Motion for Entry of Default Judgment3 is approved as

follows:

               a.     Attorney's fees of $395,748.66.

               b.     Costs of $53,653.58.

      2.       Approved fees and costs may be included as part of Plaintiffs Motion

for Entry of Judgment Against Trapper Peak Construction, Inc. 4



      2
          Doc. 119 and 119-2.
      3
          Doc. 119.
      4
          Doc. 112.

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      3.       The Clerk is directed to enter judgment consistent with this Order,

Plaintiffs Motion for Entry of Judgment Against Trapper Peak Construction,

Inc.5, and Plaintiffs Brief in Support of Motion for Entry of Default Judgment. 6

      DATED       this:>-1~y of October, 2015.

                                             ~Jft41nv
                                                 United States District Judge




      5
          Doc. 112.
      6
          Doc. 113.

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